               Case 6:17-bk-06539-CCJ       Doc 58     Filed 04/26/19     Page 1 of 1



                                         ORDERED.

         Dated: April 26, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov


                                                             Case No. 6:17-bk-06539-CCJ
In re:

PATRICIA A. HARTWIG,

      Debtor.
__________________________________/


         ORDER DENYING AMENDED MOTION TO MODIFY CONFIRMED PLAN


       THIS CASE came on for hearing on April 23, 2019 on the Debtor’s Amended Motion to
Modify Confirmed Plan (Document No. 53). The Court having reviewed the record and being
otherwise advised in the premises finds that it is

          ORDERED AND ADJUDGED, as follows:

          1.     The Motion is denied.




Laurie K. Weatherford, Trustee, is directed to serve a copy of this order on interested parties and
file a proof of service within three (3) days of the entry of the order.
